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                    EXHIBIT 11
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-26 Filed 07/11/22 Page 2 of 31 Page ID #:2581



                                                                                                               1   JEFFREY V. DUNN, Bar No. 131926
                                                                                                                   jeffrey.dunn@bbklaw.com
                                                                                                               2   CHRISTOPHER E. DEAL, Bar No. 186754
                                                                                                                   chris.deal@bbklaw.com
                                                                                                               3   DANIEL L. RICHARDS, Bar No. 315552
                                                                                                                   daniel.richards@bbklaw.com
                                                                                                               4   BEST BEST & KRIEGER LLP
                                                                                                                   18101 Von Karman Avenue
                                                                                                               5   Suite 1000
                                                                                                                   Irvine, California 92612
                                                                                                               6   Telephone: (949) 263-2600
                                                                                                                   Facsimile: (949) 260-0972
                                                                                                               7
                                                                                                                   Attorneys for Plaintiffs
                                                                                                               8   Western Riverside Council of Governments
                                                                                                                   and City of Beaumont
                                                                                                               9
                                                                                                              10                       UNITED STATES DISTRICT COURT
                                                                                                              11                      CENTRAL DISTRICT OF CALIFORNIA
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13   WESTERN RIVERSIDE COUNCIL OF               Case No. 5:20-cv-02164- GW (KKx)
                                                                                                                   GOVERNMENTS, a California Joint
                                                                                                              14   Powers Authority; CITY OF                  DECLARATION OF DAVID
                                                                                                                   BEAUMONT, a public entity in the           CASTALDO IN SUPPORT OF
                                                                                                              15   State of California,                       OPPOSITION TO DEFENDANT’S
                                                                                                                                                              MOTION FOR SUMMARY
                                                                                                              16                 Plaintiff,                   JUDGMENT
                                                                                                              17        v.
                                                                                                              18   NATIONAL UNION FIRE                        Date:        August 1, 2022
                                                                                                                   INSURANCE COMPANY OF                       Time:        8:30 a.m.
                                                                                                              19   PITTSBURGH, PA, and DOES 1                 Courtroom:   9D
                                                                                                                   through 50, inclusive,
                                                                                                              20
                                                                                                                                 Defendants.
                                                                                                              21
                                                                                                              22
                                                                                                              23
                                                                                                              24
                                                                                                              25
                                                                                                              26
                                                                                                              27
                                                                                                              28                                                                             Exhibit 11
                                                                                                                                                                                           Page 1 of 30
                                                                                                                                                                             5:20-CV-02164- GW (KKX)
                                                                                                                                                       -1-                            DECLARATION
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                                                                                                               1                          DECLARATION OF DAVID CASTALDO
                                                                                                               2         I, David Castaldo, declare as follows:
                                                                                                               3         1.     I have personal knowledge of the matters and facts set forth below and
                                                                                                               4   am competent to testify to such matters and facts.
                                                                                                               5         2.     I am a resident of the City of Beaumont, California, and served on the
                                                                                                               6   Beaumont City Council from 2010 to 2014. From 2004 to 2008, I served on the
                                                                                                               7   City of Beaumont Planning Commission.
                                                                                                               8         3.     The City of Beaumont’s Risk Management Department was headed by
                                                                                                               9   James Gregg, who was the City’s Risk Manager. James Gregg, acting under the
                                                                                                              10   direction and control of City Manager Alan Kapanicas, was responsible for
                                                                                                              11   handling all insurance matters on behalf of the City.
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                                                                                                              12         4.     In my tenure on the City Council, Gregg was not required to and did
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                                                                                                              13   not seek the approval of the City Council before tendering an insurance claim to an
                                                                                                              14   insurance company under a policy.
                                                                                                              15         5.     To the extent “claims” were brought before the City Council for
                                                                                                              16   consideration by the City Council, they were not insurance claims, but written
                                                                                                              17   claims under California’s Government Claims Act. Under this statute, when a
                                                                                                              18   person is harmed and believes the City is responsible, they must present a “claim”
                                                                                                              19   to the City to provide the City an opportunity to investigate the claim and
                                                                                                              20   potentially settle the claim before filing a lawsuit against the City.
                                                                                                              21         6.     I knew that, under the Beaumont Municipal Code, the City Council did
                                                                                                              22   not and could not exercise direct control over individual employees or officers of
                                                                                                              23   the City. The City Council was the legislative head of the City Government, but
                                                                                                              24   City Manager Alan Kapanicas was the administrative head of the City Government
                                                                                                              25   and had the ultimate power and duty to control, order, and give directions to City
                                                                                                              26   employees and inferior municipal officials, including James Gregg. This knowledge
                                                                                                              27   was based on Beaumont Municipal Code section 2.12.060 and my personal
                                                                                                              28   experience with the day-to-day function of the City of Beaumont.                   Exhibit 11
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                                                                                                               1         7.     I learned while a City Council member that in 1993 and 1994, the City
                                                                                                               2   of Beaumont entered into several contracts with Urban Logic Consultants (“ULC”)
                                                                                                               3   under which ULC would provide staff to perform certain general administrative
                                                                                                               4   functions, construction management, design, inspection, and other work for the City
                                                                                                               5   of Beaumont. All of the work performed by ULC and the ULC Principals was
                                                                                                               6   within the scope of these original contracts.
                                                                                                               7         8.     Under the terms of these contracts, David Dillon was the City’s
                                                                                                               8   Economic Development Director, Deepak Moorjani was the City’s Public Works
                                                                                                               9   Director, and Ernest Egger was the City’s Planning Director. Together, I will refer
                                                                                                              10   to these individuals as the ULC Principals.
                                                                                                              11         9.     Because no further contracts were entered into between Beaumont and
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                                                                                                              12   ULC, I knew that all work performed by ULC was performed pursuant to the
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13   original contracts entered into with ULC before the ULC principals became City
                                                                                                              14   Officials. Based on this fact, I understood at all times that ULC’s work for the City
                                                                                                              15   did not violate California Government Code Section 1090 (“Section 1090”) because
                                                                                                              16   the ULC principals were not financially interested in any contract made by them in
                                                                                                              17   their official capacity. This understanding was informed by explanations I received
                                                                                                              18   from former City Mayors Deforge and Fox, City Manager Alan Kapanicas, and
                                                                                                              19   other City staff and officials.
                                                                                                              20         10.    Based on my conversations with other City Council members and
                                                                                                              21   Mayor DeForge, I know that this understanding was shared by the other members
                                                                                                              22   of the Beaumont City Council. At no time did the City Council know or believe that
                                                                                                              23   ULC or the ULC principals were financially interested in any contract made by
                                                                                                              24   them in their official capacity.
                                                                                                              25
                                                                                                              26
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                                                                                                              28                                                                                   Exhibit 11
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                                                                                                               1         11.    To the best of my recollection, while the ULC principals signed staff
                                                                                                               2   reports concerning projects that their respective departments were responsible for,
                                                                                                               3   and minor amendments to the existing contracts were made in or around 2012 or
                                                                                                               4   2013, the ULC principals never recommended or discussed the formation of any
                                                                                                               5   new contract in which they or ULC were financially interested.
                                                                                                               6         12.    While certain community members, most notably Nancy Hall and
                                                                                                               7   Judith Bingham, alleged that the ULC principals were involved in conflicts of
                                                                                                               8   interest, I understood that these lay citizens were mistaken and did not understand
                                                                                                               9   the relevant conflict of interest laws. In particular, I believed that these individuals
                                                                                                              10   were mistaken in their belief that the City’s contracts with ULC were entered into
                                                                                                              11   in violation of section 1090, because the contracts were formed before the ULC
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                                                                                                              12   principals were city officials. In fact, Alan Kapanicas told me and other council
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                                                                                                              13   members repeatedly and at length that the allegations of Hall and Bingham were
                                                                                                              14   false. Additionally, Alan Kapanicas told me and other council members that the
                                                                                                              15   District Attorney’s Office had investigated the complaint of Nancy Hall and Judith
                                                                                                              16   Bingham, and had not uncovered any evidence of any crime or illegality. Kapanicas
                                                                                                              17   kept a voicemail he had received from the District Attorney’s office confirming that
                                                                                                              18   the investigation had uncovered no crime or illegality, and he played this voicemail
                                                                                                              19   to me to demonstrate that the allegations had been investigated and no wrongdoing
                                                                                                              20   was found. I and the rest of the City Council relied upon the fact that the District
                                                                                                              21   Attorney had concluded there was no conflict of interest or other criminal
                                                                                                              22   wrongdoing for years.
                                                                                                              23         13.    I had no knowledge of any overcharging by ULC or the principals of
                                                                                                              24   ULC. I understood, based on conversation with other City Council members, that
                                                                                                              25   no City Councilmember had any knowledge of any overcharging by ULC or the
                                                                                                              26   principals of ULC. This belief is supported by the fact that no investigation of
                                                                                                              27   overcharging was formally conducted by the City Council, because the City
                                                                                                              28   Council had no reason to believe overcharging was occurring.                       Exhibit 11
                                                                                                                                                                                                    Page 4 of 30
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                                                                                                               1         14.    The City Council did not review and approve detailed invoices.
                                                                                                               2   Rather, the City Council approved “warrant lists” which identified overall payments
                                                                                                               3   to specific vendors. Attached hereto as Exhibit 1 is a true and correct copy of an
                                                                                                               4   example of a warrant list. As shown on this document, the warrant list does not
                                                                                                               5   describe the specific work performed by a contractor, who performed the work, or
                                                                                                               6   the total hours spend on the work. Rather, the warrant list identifies total overall
                                                                                                               7   payment to vendors. Neither I nor any member of the City Council could have
                                                                                                               8   determined from the warrant list (or any other document presented to the City
                                                                                                               9   Council) that the ULC principals were submitting invoices for work that was not
                                                                                                              10   performed, seeking inflated payment for work performed by subcontractors, or
                                                                                                              11   exceeding the 4.5 percent cap, as is discussed below.
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                                                                                                              12         15.    Additionally, I was a member of the City’s Financial Review
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13   Committee, along with Mayor Brenda Knight, City Manager Kapanicas, finance
                                                                                                              14   director William Aylward, and Beaumont Treasurer Robert Deming. Aylward and
                                                                                                              15   his staff were responsible for detailed review of the work performed by City
                                                                                                              16   Contractors, and would inform the rest of the Financial Review Committee that all
                                                                                                              17   work, including the work performed by ULC, was within budget, proceeding
                                                                                                              18   properly, and properly funded. Even in my role as a member of the financial
                                                                                                              19   Review Committee, I did not have sufficient information to uncover the overbilling
                                                                                                              20   scheme of ULC, and did not at any time believe that ULC was overbilling the City.
                                                                                                              21         16.    I know that ULC’s contract with the City imposed a “cap” of payment
                                                                                                              22   to ULC of 4.5 percent of the construction cost for public improvement for certain
                                                                                                              23   services provided by ULC and the ULC principals. I was not aware at any time that
                                                                                                              24   ULC would exceed the 4.5 percent cap, and neither ULC nor any other person
                                                                                                              25   disclosed to the City Council that the 4.5 percent cap was or would be exceeded.
                                                                                                              26         17.    Neither ULC nor any other person presented sufficient information to
                                                                                                              27   the City Council to determine that the 4.5 percent cap would be exceeded, and the
                                                                                                              28                                                                              Exhibit 11
                                                                                                                   City Council never affirmatively approved of ULC exceeding the 4.5 percent cap.
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                                                                                                               1         18.    In particular, the Capital Improvement Plans that were submitted to the
                                                                                                               2   City Council did not disclose sufficient information for the City Council to
                                                                                                               3   determine that ULC would exceed the 4.5 percent cap, for a number of reasons.
                                                                                                               4         19.    First, the Capital Improvement Plans did not disclose what individuals
                                                                                                               5   or contractors would perform what type of work on any particular project. While
                                                                                                               6   some Capital Improvement Plans included a lengthy list of authorized contractors,
                                                                                                               7   the Capital Improvement Plan did not identify which specific contactors would
                                                                                                               8   perform what work.
                                                                                                               9         20.    Second, the Capital Improvement Plans set broad, forward looking
                                                                                                              10   budgets, and did not authorize any specific work or authorize any specific
                                                                                                              11   contractor to perform any specific work. Any work performed by any employee or
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                                                                                                              12   contractor was required to be separately authorized by a contract or come within the
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13   scope of an employee’s duties.
                                                                                                              14         21.    I understood that if the Capital Improvement Plan contemplated a
                                                                                                              15   project that could not be performed in whole or part by a particular contractor or
                                                                                                              16   employee (e.g., that the work would not be permitted by the contractor’s contract)
                                                                                                              17   another employee or contractor would perform the work or a contract would be
                                                                                                              18   amended to allow the work to be performed. I did not at any time believe that
                                                                                                              19   approval of a Capital Improvement Plan would permit any City employee or
                                                                                                              20   contractor to perform work for the City or require the City to incur debts or
                                                                                                              21   obligations that were not otherwise permitted by a contract or statute.
                                                                                                              22
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                                                                                                              28                                                                                     Exhibit 11
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                                                                                                               1         22.    By way of example, attached hereto as Exhibit 2 is a true and correct
                                                                                                               2   copy of the Capital Improvement Plan for fiscal year 2011-2012. This Capital
                                                                                                               3   Improvement Plan was reviewed and approved by the City Council while I was a
                                                                                                               4   City Council member. As I describe above, this Capital Improvement Plan does not
                                                                                                               5   disclose which contractors or which employees will perform work on which
                                                                                                               6   project. Nor does the document approve any contractor or employee to perform any
                                                                                                               7   specific work, and there is no authorization for any contractor to perform any work
                                                                                                               8   not otherwise authorized by a separate contract.
                                                                                                               9         23.    As reflected on the Capital Improvement Plan, ULC performed no
                                                                                                              10   work for the Beaumont Financing Authority (“BFA”). While BFA was involved in
                                                                                                              11   payment to ULC of Community Facilities District and bond funds, the work
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                                                                                                              12   performed by ULC was performed for the City and pursuant to ULC’s contracts
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13   with the City with funds belonging to the City. See Exhibit 2 at p.
                                                                                                              14   BEAUAIG0004414 (“The City of Beaumont will us community facility district
                                                                                                              15   funds, revenue bond proceeds . . . assessment district and other funds to implement
                                                                                                              16   Plan projects as part of the Comprehensive Public Facilities Financing Program.
                                                                                                              17         24.    ULC’s detailed invoices, listing hours worked and who performed
                                                                                                              18   what work at what rate, were not presented to or reviewed by the City Council.
                                                                                                              19   Rather, as described above, the warrants, Capital Improvement Plans, and other
                                                                                                              20   documents presented to and reviewed by the City Council contained only total
                                                                                                              21   dollar amounts and budgets. Thus, the City Council was never presented with
                                                                                                              22   sufficient information to discover any overbilling by ULC.
                                                                                                              23         25.    Because other City Council members had access to the same
                                                                                                              24   information I had, it is my understanding that no other City Council member could
                                                                                                              25   have known of any overcharging on the part of ULC.
                                                                                                              26
                                                                                                              27
                                                                                                              28                                                                                   Exhibit 11
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                                                                                                               1         26.    After the Superior Court issued its statement of decision and judgment
                                                                                                               2   on the WRCOG lawsuit against the City of Beaumont, I and the remainder of the
                                                                                                               3   City Council were repeatedly told by City Manager Alan Kapanicas and others that
                                                                                                               4   the Superior Court was wrong in its statement of decision and judgment, and
                                                                                                               5   refused to look at the City’s evidence, including multiple boxes of documents, that
                                                                                                               6   the judgment would be appealed by the City, and that the judgment would certainly
                                                                                                               7   be reversed on appeal. Further, I understood the court’s judgment and statement of
                                                                                                               8   decision to reference harm that had been caused to WRCOG. At no time did I
                                                                                                               9   understand that Court’s judgment and statement of decision to state or imply that
                                                                                                              10   the ULC principals or any other City staff had engaged in theft of City funds or
                                                                                                              11   dishonest conduct that had caused the direct theft or loss of any City funds.
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                                                                                                              12         27.    Alan Kapanicas, as City Manager, exercised extraordinary control over
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13   the City Council and City Staff. As described above, Alan Kapanicas had
                                                                                                              14   essentially unfettered discretion to control, direct, and fire City staff and most
                                                                                                              15   officials. As City Manager, Alan Kapanicas also had control over staff reports and
                                                                                                              16   could control what information reached the City Council.
                                                                                                              17         28.    On or about February 8, 2022, I was contacted by an attorney for
                                                                                                              18   NUFIC and asked to answer questions. NUFIC’s attorneys did not disclose to me
                                                                                                              19   that they were a defendant in a lawsuit in which they were being sued by the City,
                                                                                                              20   and did not otherwise disclose their adversity to the City of Beaumont. Rather,
                                                                                                              21   counsel for NUFIC indicated that they were the “lawyers for the City’s insurance
                                                                                                              22   company.” Based on the call from the attorney for NUFIC, I was under the
                                                                                                              23   impression that if I had talked with the attorneys for NUFIC I would be assisting
                                                                                                              24   the City.
                                                                                                              25         29.    At no time when I was on the City Council did I believe or suspect that
                                                                                                              26   the ULC principals or Kapanicas had engaged in theft or dishonest conduct.
                                                                                                              27
                                                                                                              28                                                                                     Exhibit 11
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                                                                           Exhibit 11
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                           EXHIBIT 1
                                                                            Exhibit 11
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          EXHIBIT
                                  #:2591
                   2

                                                                                      AGENDA   ITEM    NO.



                                                    WARRANT LIST
                                              CITY COUNCIL MEETING
                                                    February 01, 2011




   73577 - 73718       Checks $           1, 157, 297. 83


   EFT 521 - 524       ACH $              66, 554. 05


   EFT 234 - 256       Credit Card $      30, 195. 37




    Voids              073634, 073635


    Payroll
                       PPE 01/ 06/ 11 $    468, 500. 54


    Mutual of Omaha
                       PPE 12/ 23/ 10 $     33, 081. 13




    Cal PERS
                       PPE 01 / 06/ 1 1   S 112, 125. 06




    I DO HEREBY CERTIFY THIS WARRANT LIST HAS BEEN COMPILED AND PREPARED TO MEET THE
    DAILY OPERATIONS FOR THE FISCAL YEAR JULY 1, 2010 TO NNE 30, 2011.
                                                                                                               A
                                                                                                           0
                                                                        SIGNATURE:


                                                                                                      c•
                                                                             TITLE:   nvn[ c   1




                                                                                                                  Exhibit 11
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                                                 #:2592
                                            City of Beaumont
                                                                               Vendor Check Register
                                                                                                                                             From: 01/ 12/ 2011 To: 01/ 24/ 2011

                                                    Vendor Check Name                             Amount         Description:
Check    Number                    Check   Date


                                                    JEFFREY    FOX                                  400. 00      ADVANCE
073577                             01/ 12/ 2011


                                                    GREENFEAT                                     2, 750. 00     CONTRACT       SERVICES
073578                             01/ 14/ 2011


                                                    JENNIFER      RUVALCAVA                         524. 64      PAYROLL
073579                             01/ 14/ 2011


                                                    AISG, ISO SERVICES,           INC             1, 100. 00     YEARLY     FEE
073580                             01/ 14/ 2011


                                                    FENRANDO ANAS JR                                   23. 50    REFUND
073581                             01/ 14/ 2011


                                                    ARROWHEAD                                          56. 52    WATER     SERVIC    E
073582                             01/ 14/ 2011


                                                    CALIPERS                                      2, 714. 40     BENEFITS
073583                             01/ 14/ 2011


                                                    DAVID CASTALDO                                  152. 50      MEETING
073584                             01/ 14/ 2011


073585                             01/ 14/ 2011     CASTANEDA &          ASSOCIATES               3, 000. 00     SERVICES


                                                    CASTRO CHAPTER ONE                               100. 00     TRAINING
073586                             01/ 14/ 2011


                                                    CINTAS    CORPORATION #             150          359. 95     CONTRACT         SERVICES
073587                             01/ 14/ 2011


                                                    CR & R INC.                                   9, 331. 00     STREET     CLEANING
073588                             01/ 14/ 2011


                                                    CSG SYSTEMS                                   2, 212. 97     OFFICE    SUPPLIES
073589                             01/ 14/ 2011

                                                    CUSTOM     TROPHIES                                11. 42    NAME     PLATES
073590                             01/ 14/ 2011


                                                    DIRECTV                                            96. 98    CABLE    SERVICE
073591                             01/ 14/ 2011


                                                    E. S. BABCOCK &           SONS,    INC.        2, 735. 00    CONTRACT         SERVICES
073592                             01/ 14/ 2011


                                                    ECONOMICS &           POLITICS,      INC       4, 166. 66    CONTRACT         SERVICES
073593                              01/ 14/ 2011


                                                    ERMAC                                          6, 474. 27    MATERIALS
073594                              01/ 14/ 2011


                                    01/ 14/ 2011    FOOTHILL       VACUUM &           JANITORV       196. 50     CONTRACT SERVICES
073595


                                                    GENERAL       GOVERNMENT                       7, 628. 00    CONTRACT         SERVICE
073596                              01/ 14/ 2011


                                                    Gosch                                               28. 26   VEHICLE     MAINTENANCE
073597                              01/ 14/ 2011


                                                    GUARDIAN       LIFE       INSURANCE           18, 202. 53     INSURANACE
 073598                             01/ 14/ 2011


                                    01/ 14/ 2011    HARMSWORTH ASSOCIATES                         13, 875. 00     CONTRACT SERVICES
 073599


                                                     HOME DEPOT / CREDIT SERVICE!                    143. 69      MAINTENANCE SUPPLIES
 073600                             01/ 14/ 2011


                                                    JOHNSON POWER SYSTEMS                          3, 996. 76     SERVICES
 073601                             01/ 14/ 2011


                                    01/ 14/ 2011     JP STRIPING                                     900. 00      CONTRACT SERVICES
 073602


                                    01/ 14/ 2011     KEEP    IT GREEN                                271. 53      CONTRACT SERVICES
 073603


                                                     LA FOLLETTE,         JOHNSON,        DE HA      725. 00      SERVICES
 073604                             01/ 14/ 2011


 073605                             01/ 14/ 2011     LEAGUE       OF   C',+     di-17"             9, 534. 00         v; C-5
                                                     JOSHUA       MACMILLAN                            251. 50    REFUND
 073606                             01/ 14/ 2011

                                                                                                       723. 74    VEHICLE    MAINTENANCE
 073607                             01/ 14/ 2011     MCS


                                                     MOOREHEAD           PUBLISHING                    546. 00    PREP    GUIDES
 073608                             01/ 14/ 2011

                                                     MOSS, LEVY &         HARTZHEIM                6, 000. 00     CONTRACT        SERVICES
 073609                             01/ 14/ 2011


                                                     NAPA AUTO PARTS                                   626. 09    VEHICLE    MAINTENANCE
 073610                             01/ 14/ 2011


                                                     NATURES IMAGE, INC                           19, 187. 27     CONTRACT        SERVICE
 073611                              01/ 14/ 2011


                                                                                                                                                               Exhibit 11
                                                     NEXTEL       COMMUNICATIONS                       437. 57    CELL    PHONE
 073612                              01/ 14/ 2011

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                                                   Vendor Check Name                             Amount         Description:
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                                                   PARDEE      HOMES                               697. 31      REFUND     ON SEWER       ACCT
073613                            01/ 14/ 2011


                                  01/ 14/ 2011     POLYDYNE,       INC.                          2, 300. 00     SERVICES
073614


                                  01/ 14/ 2011     PROFORMA                                        143. 20      OFFICE    SUPPLIES
073615


                                                   QUILL CORPORATON                                137. 86      OFFICE    SUPPLIES
073616                            01/ 14/ 2011


                                                   RANCHO      READY MIX                         4, 902. 00     CONTRACT       SERVICES
073617                            01/ 14/ 2011


                                                   RIVERSIDE COUNTY RECORDEF                     2, 072. 00     RELEASES
073618                             01/ 14/ 2011


                                   01/ 14/ 2011    RODRIGO PENA PHOTOGRAPHY                        600. 00      CONTRACT SERVICES
073619


                                   01/ 1412011     KEN   ROE                                         99. 08     REFUND OF OVERPAYMENT
073620


073621                             01/ 14/ 2011    SOUTH COASTA.Q. M. D.                           402. 21        LQJ I C F-S

                                                   STATE     OF CALIFORNIA      DEPT OF             569. 00     CONTRACT SERVICES
073622                             01/ 14/ 2011


                                                   STREAMLINE                                       781. 25     UNIFORM     SUPPLIES
073623                             01/ 14/ 2011


                                                   THE    RECORD     GAZETTE                         63. 00     ADVERTISING
073624                             01/ 14/ 2011


                                                   TLMA     ADMINISTRATION                          601. 25     FEES
073625                             01/ 14/ 2011

                                                   TULE RANCH / MAGAN          FARMS            18, 832. 60     CONTRACT       SERVICES
073626                             01/ 14/ 2011


                                   01/ 14/ 2011    TYLER     WORKS                                2, 565. 00    QUARTLY     FEES
073627


                                                   UNION PACIFIC RAILROAD                       12, 144. 41     CONTRACT        SERVICES
073628                             01/ 14/ 2011

                                                   VERIZON      CALIFORNIA                          594. 75     PHONE     SERVICE
073629                             01/ 14/ 2011


                                                   VERIZON      WIRELESS                          3, 085. 55    CELL    PHONE      SERVICE
073630                             01/ 14/ 2011


                                                   VERIZON                                            11. 18     INTERNET      SERVICE
073631                             01/ 14/ 2011

                                                   VOYAGER                                       25, 916. 46     FUEL    SERVICE
073632                             01/ 14/ 2011

                                                                                                       1. 85     FINAL BILL CREDIT REFUND
 073633                            01/ 14/ 2011    YUEH     YUN


                                   01/ 14/ 2011    THE    M&   M GROUP                           17, 500. 00     DEPOSIT
 073636

                                                                                                 68, 234. 76     CONTRACT        SERVICES
 073637                             01/ 14/ 2011    J. F. SHEA CONSTRUCTION           INC

                                                                                                556, 795. 00     CONTRACT        SERVICE
 073638                             01/ 14/ 2011    LOS ANGELES           ENGINEERING

                                                    TYNER PAVING COMPANY                        171, 716. 67     SERVICES
 073639                             01/ 21/ 2011

                                                    AFFANT     COMMUNICATION                      2, 414. 00     HARDWARE
 073640                             01/ 21/ 2011


                                                    AIR &   HOSE    SOURCE                            29. 36     VEHICLE    MAINTENANCE
 073641                             01/ 21/ 2011


                                                    AL' S KUBOTA TRACTOR                              24. 40     SERVICES
 073642                             01/ 21/ 2011


                                                    ARROWHEAD                                         54. 33     SUPPLIES
 073643                             01/ 21/ 2011


                                                    LEANDREW        BANKS                            100. 00     REFUND     ON    PROPERTY
 073644                             01/ 21/ 2011

                                                    BANNING       VETERINARY     HOSPITF             356. 00     ANIMAL    CARE
 073645                             01/ 21/ 2011


                                                    BARNES      DISTRIBUTION                          22. 02     VEHICLE    MAINTENANCE
 073646                             01/ 21/ 2011

                                                    BEAUMONT UNIQUE FLOWERS                          387. 13     FLOWERS
 073647                             01/ 21/ 2011


                                                    BEAUMONT        CHAMBER                        2, 000. 00    MONTHLY        CHATTER
 073648                             01/ 21/ 2011


                                                    BEAUMONT        POLICE    OFFICERS      F      2, 100. 00    DUES
 073649                             01/ 21/ 2011


                                                                                                       50. 00    TRAINING
 073650                             01/ 21/ 2011    C. A. P. E ACCOUNTING

                                                                                                     653. 90     SUPPLIES                                    Exhibit 11
                                    01/ 21/ 2011    CDW GOVERNMENT,            INC.
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                                                  CENTER FOR CIVIC PARTNERSF                    75. 00      CONFERENCE        FEE
073652                           01/ 21/ 2011


                                                  CHERRY VALLEY NURSERY                        965. 76      SUPPLIES
073653                           01/ 21/ 2011


                                                  CINTAS CORPORATION #          150            748. 34      SERVICES
073654                           01/ 21/ 2011


                                                  CITY    OF   BANNING                       2, 787. 63     SERVICES
073655                           01/ 21/ 2011


                                                  CITY    OF CALIMESA                          586. 00      ANIMAL CARE
073656                           01/ 21/ 2011


                                                  CONSOLIDATED ELECTRICAL DI                   182. 21      SUPPLIES
073657                           01/ 21/ 2011


                                                  CRAYOLA ONLINE STORE                          24. 94      SUPPLIES
073658                           01/ 21/ 2011


                                                  CREATIVE BUS SALES, INC                      487. 36      VEHICLE     MAINTENANCE
073659                           01/ 21/ 2011


                                                  DANGELO CO.                                  942. 90      SUPPLIES
073660                            01/ 21/ 2011


                                                  DANIELS TIRE SERVICE                       1, 538. 24     VEHICLE     MAINTENANCE
073661                            01/ 21/ 2011


                                                  DA VINCI                                     306. 12      SEVICES
073662                            01/ 21/ 2011


                                  01/ 21/ 2011    DINERS CLUB                               10, 115. 09     CREDIT CARD
073663


                                                  EVANS- HYDRO, INC                         20, 195. 00     MATERIALS
073664                            01/ 21/ 2011


                                                  FEDEX                                          22. 28     SHIPPING
073665                            01/ 21/ 2011


                                                  FOUR CORNERS GLASS                           656. 98      SERVICES
073666                            01/ 21/ 2011


                                                  FOX OCCUPATIONAL                               72. 00     SERVICES
073667                            01/ 21/ 2011


                                                  Gosch                                          36. 43     SUPPLIES
073668                            01/ 21/ 2011


                                                  HI - WAY     SAFETY    INC                    167. 30     SERVICES
073669                            01/ 21/ 2011


                                                  HOME DEPOT / CREDIT SERVICE:               1, 117. 55     SUPPLIES
073670                            01/ 21/ 2011


                                                  HUNTINGTON         COURT     REPORTE        1, 420. 50    SERVICES
073671                            01/ 21/ 2011


                                                  JAMES D KING JR.                              104. 28      CREDIT    ON   FINAL   ACCT
073672                            01/ 21/ 2011

                                                                                                469. 73     VEHICLE     REPAIR
073673                            01/ 21/ 2011     LEE' S AUTO BODY

                                                   LEXISNEXIS                                   142. 00      SERVICES
 073674                           01/ 21/ 2011

                                                   LEXISNEXIS       EXPRESS SCREENII             82. 50      SERVICES
 073675                            01/ 21/ 2011


                                                                                                   2. 40     SUPPLIES
 073676                            01/ 21/ 2011    LIFE   ASSIST


                                                   MC TRUCKING                                  362. 18      SUPPLIES
 073677                            01/ 21/ 2011


                                                   MOTOSAT                                      807. 00      SERVICES
 073678                            01/ 21/ 2011


                                                   MST BACKFLOW                                 208. 88      MAINTENANCE
 073679                            01/ 21/ 2011


                                                   MYERS TIRE SUPPLY                             118. 22     VEHICLE    MAINTENANCE
 073680                            01/ 21/ 2011


                                                   NAPA AUTO PARTS                              488. 69      VEHICLE    MAINTENANCE
 073681                            01/ 21/ 2011


                                                   NATIONAL        FIRE SPRINKLER     ASS         49. 00     REGISTATION
 073682                            01/ 21/ 2011


                                                   NEXTEL                                     1, 346. 87     PHONE     SERVICE
 073683                            01/ 21/ 2011


                                   01/ 21/ 2011    PACIFIC ALARM SERVICE                         497. 50     ALARM SERVICES
 073684


                                                   PAETEC COMMUNICATIONS                       1, 590. 23    MONTHLY CHARGES
 073685                            01/ 21/ 2011


                                                   PANTER' S HARDWOOD            FLOORS          979. 76     CARPET
 073686                            01/ 21/ 2011


                                                   PATRICK A. SMITH                            1, 326. 00    INSURANCE
 073687                            01/ 21/ 2011

                                                                                                 106. 00     POSTAGE                                   Exhibit 11
                                   01/ 21/ 2011    PITNEY      BOWES
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                                                   POMA AUTOMOTIVE           FUELING     IN       2, 173. 63     FUEL
073689                            01/ 21/ 2011

                                                   PRO RISE GARAGE           DOOR CO                825. 00      SUPPLIES
073690                            01/ 21/ 2011


                                                                                                      19. 42     MAINTENANCE           SUPPLIES
073691                            01/ 21/ 2011     PRO -PIPE & SUPPLY


                                   01/ 21/ 2011    PROFORMA                                         744. 25      REF BOOKS
073692


                                                   PRUDENTIAL         OVERALL SUPPLY                383. 46      SERVICES
073693                             01/ 21/ 2011


                                                   QUALITY      POWER                               145. 00      VEHICLE       MAINTENANCE
073694                             01/ 21/ 2011


                                   01/ 21/ 2011    QUILL    CORPORATON                              786. 34      OFFICE SUPPLIES
073695


                                                   RAMONA       HUMANE SOCIRTY         INC       13, 999. 49     ACO
073696                             01/ 21/ 2011


                                                   RESOURCE BUILDING MATERIAL                     2, 453. 83     SUPPLIES
073697                             01/ 21/ 2011


                                                                                                  2, 007. 51            1 lt         veeS
073698                             01/ 21/ 2011    RIV. COUNTY        SHERIFF' S DEPT.

                                                   RIVERSIDE      COUNTY      SHERIFF' S             276. 00     TRAINING
073699                             01/ 21/ 2011


                                                   S. A MOBIL    CARWASH       AND DETA              686. 00     SERVICES
073700                             01/ 21/ 2011

                                                   SAFELITE AUTO GLASS                               265. 90     VEHICLE       MAINTENANCE
073701                             01/ 21/ 2011

                                                   SGP DESIGN AND PRINT                            1, 975. 00    SINGS
073702                             01/ 21/ 2011


                                                   SOUTHERN CALIF. EDISON                        45, 707. 65     UTILITIES
073703                             01/ 21/ 2011


                                                   SUN BADGE CO.                                     171. 00     SUPPLIES
073704                             01/ 21/ 2011


                                                   SYMBOL ARTS                                       425. 00     SUPPLIES
073705                              01/ 21/ 2011


                                                   THE GAS COMPANY                                   128. 31     UTILITIES
073706                              01/ 21/ 2011


                                                   TURF STAR, INC.                                   304. 60     MAINTENANCE SUPPLIES
073707                              01/ 21/ 2011


                                                    UNDERGROUND SERVICE ALER                         143. 00     SERVICES
 073708                             01/ 21/ 2011


                                                    UNITED WAY OF THE                                162. 00      UNITED       WAY
 073709                             01/ 21/ 2011


                                    01/ 21/ 2011    UTILITY    PARTNERS                            1, 074. 04     SERVICES
 073710


                                                    VERIZON CALIFORNIA                               491. 18      PHONE        SERVICE
 073711                             01/ 21/ 2011

                                                    VERIZON WIRELESS                               1, 139. 99     PHONE        SERVICE
 073712                             01/ 21/ 2011


                                    01/ 21/ 2011    LESLEY     VESTER                                 172. 50     OVER PAYMENT           ON SEWER ACCT
 073713


                                                    WEST COAST TURF                                1, 258. 00     MAINTENANCE SUPPLIES
 073714                             01/ 21/ 2011


                                                    WEST PAYMENT CTR.                                 175. 00     SERVICES
 073715                             01/ 21/ 2011


                                                    XEROX      CORPORATION                            394. 90     COPIER
 073716                             01/ 21/ 2011


                                                    REPUBLIC      ITS                              2, 520. 18     MAINTENANCE
 073717                             01/ 21/ 2011


                                                                                                    6, 720. 00    CONTRACT           SERVICES
 073718                             01/ 21/ 2011    TASO TECH, INC



                                                                                              1, 157, 297. 83




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                                                 BEAUMONT ELECTRIC INC.                  21, 013. 30   CONTRACT       SERVICES
EFT000521                         01/ 13/ 2011


                                                 R. MOODY   CONSTRUCTION,     INC.       39, 930. 75   CONTRACT       SERVICES
EFT000522                         01/ 13/ 2011


                                                 STEVE MOORE COMMUNICATIOI                  950. 00    CONTRACT       SERVICES
EFT000523                         01/ 13/ 2011

                                                 R. MOODY CONSTRUCTION,       INC.        4, 650. 00   CONTRACT       SERVICES
EFT000524                         01/ 20/ 2011




                                                                                        66, 544. 05




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                                                                                          Amount          Description:
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                                                  ALL PURPOSE RENTALS                       906. 85       RENTAL
EFT000000O00234                  01/ 14/ 2011


                                                  ARAMARK                                   214. 92       SUPPLIES
EFT000000O00235                  01/ 14/ 2011


                                                  BEAUMONT TIRE                             762. 89       VEHICLE     MAINTENANCE
EFT000000000236                   01/ 14/ 2011

                                  01/ 14/ 2011    BEAUMONT ACE HOME CENTER                  495. 98       MAINTENANCE SUPPLIES
EFT000000000237


                                  01/ 14/ 2011    BEAUMONT       SAFE &   LOCK              316. 82       LOCKSMITH SERVICE
EFT000000000238


                                                  CHERRY VALLEY AUTOMATIVE               12, 473. 74      VEHICLE     MAINTENANCE
EFT000000O00239                   01/ 14/ 2011


                                                  GOPHER PATROL                           2, 867. 00      MAINTENANCE
EFT000000000240                   01/ 14/ 2011


                                                  GORM,   INC.                            1, 561. 05      MAINTENANCE        SUPPLIES
EFT000000O00241                   01/ 14/ 2011


                                                                                            206. 74       MAINTENANCE
EFT000000O00242                   01/ 14/ 2011    HIGH TECH      IRRIGATION,   INC.


                                                  SHRED - IT                                439. 00       CONTRACT       SERVICES
EFT000000000243                   01/ 14/ 2011


                                                  XEROX CORPORATION                       2, 890. 89      CONTRACT       SERVICES
EFT000000000244                   01/ 14/ 2011


                                  01/ 21/ 2011    A -Z BUS SALES, INC.                      208. 66       BUS   MAINTENANCE
EFT000000000245


                                                  ALL PURPOSE       RENTALS               1, 042. 85      RENTALS
EFT000000O00246                   01/ 21/ 2011


                                                  ARAMARK                                    589. 25      OFFICE    SUPPLIES
EFT000000000247                   01/ 21/ 2011


                                                  BEAUMONT       TIRE                        177. 90      VEHICLE     MAINTENANCE
EFT000000O00248                   01/ 21/ 2011


                                                  BEAUMONT ACE HOME CENTER                      85. 77    MAINTENANCE SUPPLIES
EFT000000O00249                   01/ 21/ 2011


                                  01/ 21/ 2011    BEAUMONT SAFE & LOCK                       234. 11      LOCKSMITH SERVICE
EFT000000000250


                                                  CHERRY VALLEY AUTOMATIVE                 3, 863. 77     VEHICLE     MAINTENANCE
EFT000000O00251                   01/ 21/ 2011


                                                  CIVICPLUS                                  220. 50      MONTHLY      FEE
EFT000000000252                    01/ 21/ 2011


                                                  DIAMOND      HILLS AUTO GROUP              169. 84      VEHICLE     MAINTENANCE
EFT000000O00253                    01/ 21/ 2011


                                   01/ 21/ 2011   GORM, INC.                                    168. 60    SUPPLIES
EFT000000O00254

                                                                                             235. 24       MAINTENANCE
EFT000000000255                    01/ 21/ 2011   HIGH TECH      IRRIGATION,     INC.


 EFT000000000256                   01/ 21/ 2011   SHRED - IT                                     63. 00    SERVICES




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